Case 9:23-cr-80101-AMC Document 100 Entered on FLSD Docket 08/07/2023 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

                             CASE NO. 23-80101-CR-CANNON

  UNITED STATES,

               Plaintiff,

  vs.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

              Defendants.
  ____________________________________/

          ORDER STRIKING SEALED FILINGS AND ORDERING BRIEFING

        THIS MATTER comes before the Court upon the Special Counsel’s Motion for a Garcia

  Hearing [ECF No. 97] and related filings [ECF Nos. 95, 96 (Sealed)]. It is ORDERED AND

  ADJUDGED as follows:

        1. The Special Counsel moves [ECF No. 97] for a Garcia hearing to inquire into

           “potential conflicts of interests that may arise from attorney Stanley Woodward, Jr.’s

           prior and current representation of three individuals the Government may call to testify

           at the trial of his client Waltine Nauta” [ECF No. 97 p. 1]. Simultaneously, the Special

           Counsel moves for leave [ECF No. 95] to file under seal a “Supplement” containing

           additional information “to facilitate the Court’s inquiry” [ECF No. 96; see ECF No. 97

           p. 2 n.2, p. 6]. The Special Counsel states in conclusory terms that the supplement

           should be sealed from public view “to comport with grand jury secrecy,” but the motion
Case 9:23-cr-80101-AMC Document 100 Entered on FLSD Docket 08/07/2023 Page 2 of 2

                                                                 CASE NO. 23-80101-CR-CANNON


             for leave and the supplement plainly fail to satisfy the burden of establishing a

             sufficient legal or factual basis to warrant sealing the motion and supplement.

         2. The Special Counsel’s motion for leave to file under seal [ECF No. 95] is DENIED.

         3. The Clerk is directed to STRIKE from the docket sealed entries 95 and 96.

         4. Waltine Nauta shall file a response to the Motion for a Garcia hearing [ECF No. 97]

             on or before August 17, 2023. Among other topics as raised in the Motion, the

             response shall address the legal propriety of using an out-of-district grand jury

             proceeding to continue to investigate and/or to seek post-indictment hearings on

             matters pertinent to the instant indicted matter in this district. The Special Counsel

             shall respond to that discussion in a Reply in Support of the Motion [ECF No. 97], due

             on or before August 22, 2023. The remaining Defendants may, but are not required

             to, file briefs of their own related to the grand jury issue referenced herein, but any such

             briefs are due by August 17, 2023, and may be submitted in combined or individual

             fashion. 1

         DONE AND ORDERED in Chambers in Fort Pierce, Florida, this 7th day of August 2023.




                                                        _________________________________
                                                        AILEEN M. CANNON
                                                        UNITED STATES DISTRICT JUDGE


  cc:    counsel of record




  1
   This request for supplemental briefing is not intended to substitute and/or to limit any future
  motion brought pursuant to Fed. R. Crim. P. 12(b).
                                                    2
